               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:09cr13-10


UNITED STATES OF AMERICA  )
                          )
            vs.           )                     ORDER
                          )
CHRISTOPHER ALLEN HARRIS )
                        )



       THIS MATTER is before the Court on the Motion by Nonparty (the North

Carolina State Bar) for Access to Documents under Seal. [Doc. 607].

       No response has been received in opposition to the motion. Having

reviewed the same, the Court finds that there is good cause for the North

Carolina State Bar to have access to these documents.

       IT IS, THEREFORE, ORDERED that the Motion by Nonparty (The North

Carolina State Bar) for Access to Documents under Seal [Doc. 607] is hereby

GRANTED as follows:

1.     The Clerk of Court shall provide the North Carolina State Bar with

       copies of the following documents filed under seal in this matter: Doc.

       196; Doc. 198; Doc. 203; Doc. 204; Doc. 211; and Doc. 217.



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2.     The North Carolina State Bar is authorized to use these documents in

       the course of fulfilling its statutory obligations to regulate North Carolina

       licensed attorneys pursuant to its Discipline and Disability Rules and

       shall adhere to the following restrictions on their use:

       a.    The documents shall be disclosed to, accessed by and/or used by

             the following only:

             i.     The Grievance Committee of the North Carolina State Bar,

                    the Disciplinary Hearing Commission and/or any Hearing

                    Panel thereof;

             ii.    The North Carolina State Bar and any respondent or

                    defendant in the grievance or disciplinary matters and

                    attorneys of record for these parties and/or any employee

                    of the attorneys of record for the parties who, in turn, agree

                    to be bound by the terms of an order restricting use of the

                    documents;

             iii.   Consultants      and   technical    experts    involved   in      the

                    preparation of the grievance or disciplinary matters;

             iv.    Court   reporters,     their   transcribers,    assistants     and

                    employees as required in the disciplinary matters; and



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       v.    Any potential or actual deposition or trial witness to the

             extent that it is necessary to tender any such document to

             such witness as an exhibit to elicit testimony relevant to the

             matters at issue in the disciplinary matter.

  b.   Any document obtained pursuant to this Order and filed in any

       public disciplinary proceedings and any brief referring to such

       document shall be kept under seal and shall be made available

       only to the parties or persons authorized by the terms of this

       Order.

                                  Signed: January 12, 2012




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